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March 10, 2020

U.S. District Court Judge Brenda K. Sannes
Northern District of New York
James M. Hanley Federal Building & U.S. Courthouse
100 S. Clinton St.
Syracuse, NY 13261

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